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                 IN THE UNITED STATES COURT OF APPEALS
                       FOR THE ELEVENTH CIRCUIT

AIR FORCE OFFICER,                               )
                                                 )     Case No. 22-11200
                      Plaintiff-Appellee,        )
v.                                               )
                                                 )
LLOYD J. AUSTIN, III, et al.,                    )
                                                 )
                      Defendants-Appellees.      )

                       SEPTEMBER 2023 STATUS REPORT

         Pursuant to the Court’s August 24, 2022 Order, the parties hereby jointly

provide this status update:

       On August 16, 2023, the government filed in the United States Supreme

         Court a petition for a writ of certiorari in Doster v. Kendall, No. 23-154,

         presenting the question of whether the Supreme Court should vacate the

         Sixth Circuit’s judgment and remand with instructions to direct the district

         court to vacate its orders granting preliminary injunctions as moot.

       The Doster plaintiffs’ current deadline to respond to the petition is October

         18, 2023.




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Dated: September 13, 2023


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